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COG/SRD/LJW/USAO#2022R00757

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA Criminal Number;—y/\ Bt? ao

v. (Conspiracy to Distribute Controlled
Dangerous Substances, 21 U.S.C. § 846;
JUSTIN ERNEST RIGGS, Use of Communication Facility in Causing
or Facilitating the Conspiracy to Distribute
Defendant. Controlled Dangerous Substances, 21
U.S.C. § 843; Travel Act, 18 U.S.C. §
1952(a)(3) and (b)(2), Criminal Forfeiture,
21 U.S.C. § 853)

INDICTMENT

The Grand Jury for the District of Maryland charges that at all times relevant to this

indictment:

COUNT ONE
(Conspiracy to Distribute and Possess with Intent to Distribute Controlled Substances)

Introduction
1. The Maryland State Police (“MSP”) was an agency of the State of Maryland.
De Sworn members of MSP took the following oath:

I do solemnly swear that I will bear true faith and allegiance to the
United States of America and to the State of Maryland; I pledge to
respect every human life and act with compassion toward others;
that I will serve honestly and faithfully to uphold and defend the
Constitution of the United States and the Constitution of Maryland;
That I will enforce the laws of the State of Maryland; and that I will
obey the orders of the Governor and the Officers appointed over me
according to the rules and regulations of the Maryland State Police.

3. Justin Ernest RIGGS (“RIGGS”) joined MSP on February 14, 2012. In 2022,
RIGGS was assigned to the Western Region Enforcement - Narcotics Section (WRENS).

4. Drug Distributor 1 was a member of the Drug Trafficking Organization (“DTO”).

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The Charge

From December of 2022 through January 7, 2023, in the District of Maryland and
elsewhere,
JUSTIN ERNEST RIGGS,

the defendant herein, did knowingly and willfully combine, conspire, confederate and agree with
Drug Distributor 1, and persons known and unknown to the Grand Jury, to knowingly,
intentionally and unlawfully distribute and possess with the intent to distribute a mixture or
substance containing a detectable amount of cocaine and methamphetamine, Schedule II
controlled substances, in violation of Title 21, United States Code Section 846.

Manner and Means of the Conspiracy

5. Among the manner and means by which the defendant and others conducted and

participated in the conduct of the conspiracy were the following:

a. distributing cocaine and methamphetamine in the Hagerstown area, and
elsewhere;

b. distributing firearms; and

c. MSP Corporal Justin RIGGS provided sensitive law enforcement

information to Drug Distributor 1 in order to prevent law enforcement from disrupting or
dismantling the organization’s trafficking operations, and further to protect RIGGS’ co-

conspirators.

Overt Acts

The Defendant and co-conspirators, including unindicted members, committed acts in
furtherance of the conspiracy, which include, but are not limited to, the following:

The Drug Trafficking Organization
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6. In April of 2022, a member of law enforcement in the state of Maryland was
approached by an individual who wished to provide information about the DTO. Shortly afterward,
MSP registered this individual as a “CHS” or “confidential human source.”

7. In April, July, August, September, October, November, and December of 2022,
CHS made multiple controlled purchases of distribution amounts of cocaine, suspected cocaine,
methamphetamine, and suspected methamphetamine from members of the DTO, including Drug
Distributor 1. Those controlled purchases were surveilled and recorded by investigators with MSP
and federal law enforcement. WRENS had been utilized extensively by investigators to assist in
the MSP investigation of the DTO. At all times during this portion of the investigation, RIGGS
was a member of the MSP WRENS squad that assisted with these controlled purchases.

8. In addition to the controlled purchases to CHS, Drug Distributor 1 sold cocaine and
methamphetamine to other members of the DTO.

Leak of Information by RIGGS to Drug Distributor 1

9. On December 19, 2022, RIGGS created a fictious Facebook Account.

10. On December 21, 2022, RIGGS established contact with Drug Distributor 1 using

the fictitious Facebook Account. The following are selected messages sent by RIGGS from that

day:
Time Message
(UTC)
14:45 Hey I work for a Fed agency that has started a very serious case. Im

looking to receive payment for info I can give you and hopefully work
with you for info you need in the future. As a good faith measure I'll let
you know something that proves I'm worthy. There's a tracker on your
black truck. [Redacted] It's hidden good. It's a magnetic black box
looking unit. If you remove it, it will alert us. So decide how you want

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to use that. I'd suggest having someone drive it to the far end of the us to
throw everyone off. Also check your ring camera. Yesterday morning at
around 310am, you'll see two feds attempting to put another tracker on.
They turned around once your spot light came on...

14:47 I have tons more info pertaining to your biggest informant whose doing
you dirty, the status of your case and what you should do, and alot more.
But that info will require payment because I know how serious it is
14:54 Theres a big case man. I'm not reaching out because I care what you're
in to or not in to. you don't have to play innocent to me. IDC about that.
I'm just trying to get paid. But there's a big case that's going on. Im here
to work with you. I gave you some free info to prove my worth. Once
you find the tracker and see I'm legit then let's talk about the other info I
have.

15:25 Also I wouldn't have [redacted] Thursday. Your [redacted] is bugged.
Along with ppl that go to it. Okay well that's all I can offer man. I know
the consequences of what this info will do that's why the price is what it
is

15:26 I'll leave it up to you as to how we proceed. You know what I need man.
I'm here for you and on your side
16:06 That's why I need money for the info. I know what'll happen to the rat.

You may not have the money but your club does. And this case is going
to hurt alot of members. But anyway. Just holler when you want to
move forward man.

20:14 The tracker is on your truck. [Redacted] I was on cover surveillance
when it was put on

man. I know 100% noone is feeding me bs.

11. | The conversation between Drug Distributor 1 and RIGGS continued through
December 22, 2022. Drug Distributor 1 located the tracker on his vehicle. In subsequent Facebook
messages RIGGS suggested relocating the tracker to an “18 wheeler” or driving the truck to a local
police station in order to confuse law enforcement.

12. Also during the discussion on December 22, 2022, Drug Distributor 1 told RIGGS
that he was looking to leave the organization. RIGGS then offered his continuing services to the
DTO in the event that Drug Distributor 1 was no longer going to be involved in the DTO. The

following are selected messages sent from RIGGS to Drug Distributor 1:

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Time (UTC) | Message

13:21 ...So listen, if you're getting out or want nothing to do with what I can
offer, is there anybody trustworthy in your club that would have
interest in my services? Info for money exchange type of thing?

13:22 I could be willing to give you some more info now for forwarding

my services to someone that could use it

13. In December 2022, a scheduled meeting for the DTO was moved at the direction
of Drug Distributor 1 after he received the messages from RIGGS. During the meeting, DTO
members were told that the meeting was being held due to a “GPS tracker” having been found on
a DTO member’s vehicle.

14. On December 26, 2022, the discussion between RIGGS and Drug Distributor 1
continued regarding RIGGS’ knowledge of the investigation using Facebook Messenger. The

following are some of the communications RIGGS sent to Drug Distributor 1:

Time (UTC) | Message

14:54 Did you pull the tracker off? I can help you by telling you how deep
the investigation is. How to make it go away, who your snitch is that's
setting y'all up, and when your phone will be tapped...

15:00 Gotchya. Yah it will send an alert once removed. I think they're going
to try to put another one of this week. I can't communicate with you
once the wire tap starts. That's why I'm going offline tomorrow. But
like I said I can help you. By telling you the snitch. Once he's gone
then you're case should be gone because he won't be able to testify
against you

15. On December 30, 2022, Drug Distributor 1 stated to RIGGS: “doubt u r being fed
lies cause now I’m hear shit on my fucking phone and this shits bothering me. Who if feeding u
these lies man. Drop the phone or call me. Shits old but I now want answer. I can’t get that kind
of money but I want answers man. Give me something $$$.”

16. On January 2, 2023, RIGGS responded and began to negotiate a price with Drug

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Distributor 1 and continued to do so through Tuesday, January 3, 2023. The following is a portion

of the conversation that occurred between RIGGS and Drug Distributor 1 from January 2-3, 2023:

RIGGS:

Drug Distributor 1:

RIGGS:

Drug Distributor 1:

Drug Distributor 1:

[Tuesday, January 3, 2023]

RIGGS:

RIGGS:

RIGGS:

Drug Distributor 1:

RIGGS:

I can’t answer without payment. Even a small payment I can
get you your answers

I can get $1200
Can you do $2000?

I had enough trouble trying to come up with this I’m
[redacted] out of this [redacted] I’d like to have some kind
of information that I can leave behind in case somebody is
wrapped up in whatever this bullshit is but it ain’t got
nothing to do with me man I don’t even got it like that I can

try

I got $1500 and let u know where I put it.

Okay. Just put it in a grocery bag and drop it off at [redacted]
wolfsville Rd, smithsburg. There’s an old cabin there.
Across from the cabin in a small foot bridge. Just set it in the
woods by the foot bridge

I’ll go ahead and give you the info. I trust you’ll drop the
money and won’t screw me

I can’t answer without payment. Even a small payment I can
get you your answers

I’ve been waiting on this info you said you were going to
send so I can drop this money off.

So the one who is putting this case on you drives the
[redacted]. The one who has been doing controlled buys
from you each week. He buys from you and hands it over
to feds. He’s been wearing a wire each meet up. He’s got
ya on [redacted] buys as well as the [redacted]. I believe he
has shit on [redacted] too

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RIGGS: A good way to get him would be to sell him fake shit and
later on ask him how it was

Later in the conversation:

RIGGS: If you make the 1500 drop then Ill just give ya the rest of
the info and you can make the 300 drop

RIGGS: Every buy he’s done hasbeen recorded. The audio
conversations have been recorded. But he plans on
testifying on ya...

17. Later that day, Drug Distributor 1, informed RIGGS that he had left $1,800 in US
currency behind the dumpsters in the rear of the Red Roof Inn Hagerstown — Williamsport located
at on E Potomac Street, in Williamsport, Maryland.

18. On Thursday, January 5, 2023, at approximately 7:59 a.m., Drug Distributor 1
messaged RIGGS and stated: “The money is there man [...] and I’m not going back to get it....”

19. At approximately 9:52 a.m., a silver Nissan Rogue stopped near the dumpsters of
the Red Roof Inn. The older, white, male driver, Person 1, exited the vehicle and retried the U.S.
currency that had been hidden behind the dumpsters.

20. At approximately 10:20 a.m., after Person 1 left the vicinity of the Red Roof Inn,
RIGGS messaged back: “Okay I’ll get it sometime. What else do you need.” Drug Distributor 1
responded, “run one of my dudes for a warrant” and RIGGS responded, “Okay I can do that.”

21. On Friday, January 6, 2023, RIGGS responded and said, “[...] No warrants.” Drug
Distributor 1 then provided another name for RIGGS to run for a warrant check and then asked
RIGGS if he received the money, “I'm figuring u got that $$$$ ???” RIGGS confirmed that he did

receive the money and stated, “Yeah got it. Okay.”

21 U.S.C. §846.
18 U.S.C. §2

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COUNT TWO
(Use of Communication Facility in Causing or Facilitating the Conspiracy to Distribute
Controlled Dangerous Substances)

22. Paragraphs 1 through 3 and 5 through 21 of Count One of this Indictment are re-
alleged and incorporated herein by reference.

23. The Grand Jury for the District of Maryland charges that between December 21,
2022 and January 7, 2023, in the District of Maryland, the defendant,

JUSTIN ERNEST RIGGS

did knowingly and intentionally use any communication facility, a cellular telephone, in
facilitating the commission of any act or acts constituting a felony under Title 21, United States
Code, Section 846, that is, offenses set forth in Count 1 of this indictment incorporated by

reference herein, as set forth below:

COUNT| DATE | = TYPE OF COMMUNICATION

2 12/21/2022 | Facebook Messenger from RIGGS account to Drug
Distributor 1

3 12/22/2022 | Facebook Messenger from RIGGS account to Drug
Distributor 1

4 12/26/2022 | Facebook Messenger from RIGGS account to Drug
Distributor 1

5 12/30/2022 | Facebook Messenger from RIGGS account to Drug
Distributor 1

6 1/2/2023 Facebook Messenger from RIGGS account to Drug
Distributor 1

7 1/3/2023 Facebook Messenger from RIGGS account to Drug
Distributor 1

8 1/5/2023 Facebook Messenger from RIGGS account to Drug
Distributor 1

9 1/6/2023 Facebook Messenger from RIGGS account to Drug
Distributor 1

All in violation of Title 21, United States Code, Section 843(b).
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COUNT TEN
(Travel Act)

24. The United States Attorney for the District of Maryland further charges that at all

times relevant to this Information:

25. Paragraphs | through 3 and 5 through 21 of Count One of this Indictment are re-

alleged and incorporated herein by reference.

26. On or about January 3, 2023 through January 5, 2023, in the District of Maryland
and elsewhere, the defendant,
JUSTIN ERNEST RIGGS,
did use and cause to be used a facility in interstate commerce, that is, RIGGS used a cellular
telephone to send Facebook messages to Drug Distributor | in which they came to an agreement
on $1800 in exchange for information about the federal investigation:
Drug Distributor 1: I got $1500 and let u know where I put it.

RIGGS: Okay. Just put it in a grocery bag and drop it off at [redacted]
wolfsville Rd, smithsburg. There’s an old cabin there. Across from
the cabin in a small foot bridge. Just set it in the woods by the foot
bridge

RIGGS: I’ll go ahead and give you the info. I trust you’ll drop the money
and won’t screw me

RIGGS: I can’t answer without payment. Even a small payment I can get
you your answers.

Drug Distributor 1: I’ve been waiting on this info you said you were going to send so I
can drop this money off.

RIGGS: So the one who is putting this case on you drives the [redacted].
The one who has been doing controlled buys from you each week.
He buys from you and hands it over to feds. He’s been wearing a
wire each meet up. He’s got ya on [redacted] buys as well as the
[redacted]. I believe he has shit on [redacted] too

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RIGGS: A good way to get him would be to sell him fake shit and later on
ask him how it was

RIGGS: If you make the 1500 drop then I’Il just give ya the rest of the info
and you can make the 300 drop

with the intent to promote, manage, establish, carry on, and facilitate the promotion,
management, establishment and carrying on of an unlawful activity, to wit: bribery in violation
of Maryland Criminal Law § 9-201(c) (“Public employee demanding or receiving bribe”); and
thereafter did perform and attempt to perform acts to promote, manage, establish and carry on,
and to facilitate the promotion, management, establishment and carrying on of said unlawful
activity.

18 U.S.C. § 1952(a)(3) and (b)(2)

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FORFEITURE

The Grand Jury for the District of Maryland further finds that:

1. Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendant that the
United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C. § 924(d),
21 U.S.C. § 853, and 28 U.S.C. § 2461(c), in the event of the defendant’s convictions under Counts
One through Three of this Indictment.

Narcotics Forfeiture

2. Upon conviction of the offenses set forth in Counts One or Two, the defendant,
JUSTIN ERNEST RIGGS,
shall forfeit to the United States, pursuant to 21 U.S.C. § 853(a):
a. any property constituting, or derived from, any proceeds obtained, directly
or indirectly, as the result of such violations; and
b. any property used or intended to be used, in any manner or part, to commit,
or to facilitate the commission of, such violations.

Property Subject to Forfeiture

3. The property to be forfeited includes, but is not limited to, a black privately made

firearm without a serial number designed to be fired single handedly or from the shoulder.

Substitute Assets
4, If, as a result of any act or omission of the defendant, any such property subject to
forfeiture:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;
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c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

€. has been commingled with other property which cannot be subdivided
without difficulty,

the United States, pursuant to 21 U.S.C. § 853(p), shall be entitled to forfeiture of substitute
property up to the value of the forfeitable property.
18 U.S.C. § 924(d)

21 US.C. § 853
28 U.S.C. § 2461(c)

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Erek L. Barron

A TRIIE RINT: United States Attorney
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